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       EXHIBIT A

     (State Court documents)
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                                                                                                     $l ,, ~ .C
                                THE STATE OF NEW HAMPSHIRE                                            d- j q ( :J-;)-
                                                JUDICIAL BRANCH                                      o ·a5 p rr,
                                                  SUPERIOR COURT
Hillsborough Superior Court Southern District                                                        j[) . ~U,U,,-u)//
30 Spring Street                                                                              TIY1
Nashua NH 03060                                                                                  http://www.courts state nh .us


                                      SUMMONS IN A CIVIL ACTION



Case Name:              M. L. v Rivier University
Case Number.            226-2022-CV-00017

Date Complaint Filed : January 13, 2022
A Complaint has been filed against Rivier University in this Court. A copy of the Complaint is
attached

The Court ORDERS that ON OR BEFORE :
March 11. 2022        M. L. shall have this Summons and the attached Complaint served upon
                      Rivier University by in hand or by leaving a copy at his/her abode, or by
                      such other service as is allowed by law.
April 01 , 2022                 M L. shall electronically file the return(s) of service with this Court. Failure
                                to do so may result in this action being dismissed without further notice.
30 days after Defendant         Rivier University must electronically file an Appearance and Answer or
is served                       other responsive pleading form with this Court. A copy of the Appearance
                                and Answer or other responsive pleading must be sent electronically to
                                the party/parties listed below.

Notice to Rivier University: If you do not comply with these requirements you will be considered in
default and the Court may issue orders that affect you without your input.
Send copies to:
 Anna Goulet Zimmerman ,                     Law Office of Mann ing & Zimmerman PLLC 87 Middle Street
  ESQ                                        Manchester NH 03101
 Michaila Marie Oliveira , ESQ               Law Office of Manning & Zimmerman PLLC 87 Middle St
                                             Manchester NH 03101
  Rivier University                          420 South Main Street Nashua NH 03060
                                                                    BY ORDER OF THE COURT

January 25, 2022                                                   Amy M. Feliciano
                                                                   Clerk of Court
 (126277)




NHJB-2678-Se (07/01/2018)           This is a Service Document For Case : 226-2022-CV-00017
                                          Hillsborough Superior Court Southern District
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                  Case 1:22-cv-00077 Document 1-1 Filed 03/02/22 Page 3 of 20




 Instructions for filing the Return of Service :
 If you are working with an attorney, they will guide you on the next steps. If you are going to
 represent yourself in this action, go to the court's website: www.courts.state.nh.us, select the
 Electronic Services icon and then select the option for a self-represented party.

     1 Select "I am filing into an existing case" . Enter 226-2022-CV-00017 and click Next.
     2   When you find the case , click on the link follow the instructions on the screen. On the "What
         would you like to file? " screen, select "File Other Document" and choose "Return of Service".
     3   Scan the Return of Service packet and follow the instructions in the electronic filing program to
         upload the Return of Service to complete your filing .
     4   If the sheriff was unable to serve the paperwork, you can request new paperwork by filing a
         Request for Documents. On the "What would you like to file?" screen, select "File Other
         Document" and choose "Request for Reissued Summons" from the menu and upload the
         Request for Documents form.


FAILURE TO FILE THESE DOCUMENTS MAY RESULT IN YOUR CASE BEING DISMISSED.

Ja nuary 25, 2022                                        Amy M. Feliciano
Date                                                     Clerk of Court

You can access documents electronically filed through our Case Access Portal by going to
https ://ody pa.nhecourt.us/po rta l and following the instructions in the User Guide. In that process you
will register, validate your email, request access and approval to view your case . After your
information is validated by the court, you will be able to view case information and documents filed in
your case .




NHJB-2678-Se (0710112018)
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                               THE STATE OF NEW HAMPSHIRE
                                                JUDICIAL BRANCH
                                                 SUPERIOR COURT
Hillsborough Superior Court Southern District                                    Telephone: 1-855-212-1234
30 Spring Street                                                             TIYfTDD Relay: (800) 735-2964
Nashua NH 03060                                                                 http://www.courts.state.nh.us


                                          NOTICE TO DEFENDANT
Case Name:                  M. L. v Rivier University
Case Number:                226-2022-CV-00017
You have been served with a Complaint which serves as notice that this legal action has been filed
against you in the Hillsborough Superior Court Southern District. Review the Complaint to see
the basis for the Plaintiff's claim.
Each Defendant is required to electronically file an Appearance and Answer 30 days after service.
You may register and respond on any private or public computer. For your convenience, there is also
a computer available in the courthouse lobby.
If you are working with an attorney, they will guide you on the next steps. If you are going to
represent yourself in this action, go to the court's website: www.courts.state.nh.us. select the
Electronic Services icon and then select the option for a self-represented party.
        1 Complete the registration/log in process. Click Register and follow the prompts.
         2. After you register, click Start Now. Select Hillsborough Superior Court Southern
            District as the location.
         3. Select "I am filing into an existing case". Enter 226-2022-CV-00017 and click Next.
         4   When you find the case, click on the link and follow the instructions on the screen On the
             "What would you like to file?" screen, select "File a Response to Civil Complaint". Follow
             the instructions to complete your filing.
         5   Review your Response before submitting it to the court.

IMPORTANT: After receiving your response and other filings the court will send notifications and
court orders electronically to the email address you provide.
A person who is filing or defending against a Civil Complaint will want to be familiar with the Rules of
the Superior Court., which are available on the court's website: www.courts.state.nh.us.
Once you have registered and responded to the summons, you can access documents electronically
filed by going to https://odypa .nhecourt.us/portal and following the instructions in the User Guide. In
that process you will register, validate your email, request access and approval to view your case.
After your information is validated by the court, you will be able to view case information and
documents filed in your case.


If you have questions regarding this process, please contact the court at 1-855-212-1234.




NHJB 2678-Se (07/01/2018)
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                                                                                                      File Date: 1/13/2022 3:54 PM
                                                                                     Hillsborough Superior Court Southern District
                                                                                                                 E-Filed Document




                                  ST A TE OF NEW HAMPSHIRE

HILLSBOROUGH, SS                                                             SUPERIOR COURT
SOUTHERN DISTRICT
                                                                             226-2022-CV-00017

                                                    M.L.
                                                      \' .

                                             Rivier University


                         COMPLAINT AND DEMAND FOR JURY TRIAL

        NOW COMES the plaintiff: M.L.. by and through her attorney, Law Office of Manning

& Zimmerman. PLLC. and sets forth this Complaint and Demand for Jury TriaL bringing the

fbllowing causes of action against the defendant. Rivier University:

                                      JURY TRIAL DEMAND

    I. Plaintiff demands a trial by jury on all counts.

                                           INTRODUCTION

    "   This is an action involving claims under Title IX of the Education Amendments of 197'2,

10 U.S.C. §§ 1681-1688 (hereinafter --Title TX'') and various state law causes of action, arising

out of sexual assault.

                                                PARTIES

    3. M.L. (hereinafter ··Plaintiff') is a citizen of the Commomvealth of Massachusetts. who

currently resides in Pembroke. Massachusetts. At the time of the sexual assault in question. M.L.

\Vas a student at Rivier University. residing in Guild HalL an on-campus dorm.

   4. Ddendant Rivicr University (hereinafter ''Rivier.. ) is a private educational institution

-with its primary campus in Nashua. Ne-w Hampshire. Rivier University operates as a domestic

nonprofit corporation whose principal office address is 420 South Main Stred. City of Nashua,

County of Hillsborough. State of New Hampshire, 03060. Service may be obtained by serving its




                            This is a Service Document For Case: 226-2022-CV-00017
                                  Hillsborough Superior Court Southern District
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Presicknt Sister Paula Marie Buley. IHM, at 4:W South Main Street, City of Nashua. County of

Hillsborough. State of New Hampshire. 03060.

                                    JURISDICTION AND VENUE

    S. This Court has jurisdiction over this matter pursuant to RSA 491 :7.

    6. Venue is proper in Hillsborough County pursuant to RSA 507:9, as Defendant Rivier has

a principal place ot'business in Nashua. New Hampshire and the incident at issue took place in

Nahua, New Hampshire.

    7. The damages claimed are within the jurisdictional limits of the Court.

                          ALL EGATIO NS COMMON TO ALL COUNTS

A. Rivier University

    8. Defendant Rivier University is an accredited. private Catholic liberal a1ts university

located in Nashua, New Hampshire.

    9.   Defendant Rivier has a published ··sexual Misconduct, Harassment, and Gender-Based

Vil)lence Policies'" which asse1ts:

         The University is committed to fostering a climate free from sexual harassment,
         sexual violence. stalking, and intimate partner violence through clear and
         effective policies: a well-coordinated and integrated education and prevention
         program: and prompt and equitable procedures for resolution of repons ... 1

    I 0. This policy "applies to all community members, including students, faculty. staft:

contractors. and visitors ... 2

    11. According to Rivier. Sexual Assault is prohibited and is defined as the following:

         Having or attempting to have sexual intercourse with another individual. including:

                 1. By the use of force or threat of force:




' See Sexual Misconduct. Harassment. and Gender-Based Violence Policies.
'Sec Sexual Misconduct. Harassment. and Gender-Based Violence Policies.

                                                      2
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                   2. Without effective consent; or

                   3. Where that individual is incapacitated or physically and/or mentally unable to

                   make informed and reasonable judgments.

      Sexual intercourse includes vaginal or anal penetration. hO\,vever slight, with a body part

      (e.g., penis, tongue. finger, hand) or object. or oral penetration involving mouth to genital

      contact. '

     12. According to Deft:ndant Rivier. Non-Consensual Sexual Contact is prohibited and is

defined as the following:

         Having intentional physical contact ofa sexual nature with another individual:

                   I. By the use of force or threat of force:

                   2. Without consent: or

                   3. Where that individual is incapacitated or physically and/or mentally unable to

                   make informed and reasonable judgments.

         Non-consensual sexual contact includes: touching the intimate parts of another: touching

         a person with one's own intimate parts: forcing a person to touch another's intimate parts:

         forcing a person to touch one·s own intimate pans: or disrobing or exposure of another

         without permission . Intimate parts may include the breasts or chest. genitals, buttocks.

         groin . mouth or any other part of the body that is touched in a sexual manner. or the

         clothing covering the same. 4

B. Plaintiff is accepted to and enrolls at Rh·ier and begins living on campus.

    13. Plaintiff is a young, female student who entered Rivieras a nineteen-year-old freshman.




' Sc.:e Sexual Misconduct. Harassment. and Gender-Based Violt:nce Policies.
1
  Sc.:e Sexual :\·lisconduct. Harassment. and Gc.:nder-Based \/ioknci.: Policies.

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         14. Plaintiff chose Rivier. in part due to the feeling ofsatety she felt on the campus. which

\\as reinforced by the close supervision and emphasis on safety when she visited over the

summer before staiting school.

         15. On September 2, 2019. Plaintiff moved into her dormitory located in Guild Hall at Rivier.

         16. Guild Hall is home to most first year students at Rivier. Guild Hall is staffed with a hall

director and is supposed to have five to six resident assistants. 5

         17. Per Defendant Rivier's campus security policies. ··[s]tudents and their guests must adhere

to University procedures regarding residence hall access. Desk attendants are assigned in each of

the residence halls to monitor the entrance of residents and their guests:·(,

         18. Furthermore, doors to the residence halls are locked 24 hours a day unless opened for

special programs or functions. The front and back doors to the halls are accessible with a resident

student ID card until 11 :00 p.m. each night. At 11 :00 p.m. alarms are activated on all doors.

except the main entrance. All guests must either sign in as overnight visitors or vacate the halls at

11:00p.m. 7

         19. Per Rivier's Student Handbook, guests are to be signed in and out at the front desk. All

guests are expected to leave a driver's license or student ID at the desk when signing in. 8

     20. Furthermore, per the I{andbook. guests must be escorted in and out of the residence halls

and at all times during their visit. 9




 ' See   hnpsJ'www.rivier.edu/student-l ifc/housing/residence-hal lsi
,. See   h llps:1/www.rivicr.edu/student-1 ife/pub Iic-safetyicarn pus-security/
., Sec   Studcm Handbook.
'See     Stud~nt Handbook .
., See Student Handbook.

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C. The Sexual Assault

    21. On September 7. 2019.just five days after arriving on campus. Plaintiff attended a pai1y

at Brassard Hall . another residence hall at Rivier.

    22 . Brassard Hall was known for being the location where on-campus parties were hosted as

it was a suite-style dorm .

    n. Upon arriving at Brassard Hall. Plaintiff checked in ""ith the resident assistant stationed
at the entrance to the residence hall.

    24. Plaintiff checked in at the same time multiple other students were doing the same.

    25. While the party was not hosted by the school, upon information and belief it was obvious

to school personnel that students. including underage students. were consuming alcohol at the

party in a Rivier residence hall.

   26. Plaintiff consumed a beverage containing vodka prior to the party and another ,vhile at

the party. It is not known v.,hether any additional substances were put into her drink at the party.

   27. Sometime around 11 :30 p.m., Plaintiff left the party and traveled back to her dorm in

Guild Hall.

   28. Plaintiff was under the influence and/or intoxicated when she left the party and has no

memory of the walk back to dorm.

   29. While Plaintiff does not remember walking back to her dorm with anyone from the party.

but she has since learned that a guest visiting the school left the party and walked with her to her

dorm.

   30. Although she has no recollection of doing so. Plaintiff knows from video of the entrance

to Guild Hall that she used her passkey to enter the residence hall.




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    31. Despite the school's campus security policy. there was no desk attendant at the entrance

of Guild Hall, and no one checked the ID of the Plaintiff or the man who entered the residence

hall at the same time she entered.

    32. Plaintiff later learned the identity of the man. and that he was a guest at the college who

had been visiting a friend who attend\:d Rivier.

    33. Despite Rivier's rule that guests .. must be escorted in and out of the residence halls and at

all times during their visit," the man was allowed to leave the party without his host and entered

a different residence hall than the one he had checked into.

    34. Has there been a desk attendant the attendant would have asked for the identification of

the man. who was supposed to have stayed with the friend with whom he had registered earlier in

the night. and the man would have been turned away in the lobby.

    35. A properly trained guest attendant would also have recognized that Plaintiff was

intoxicated/under the influence, and in need of assistance.

    36. Instead, Plaintiff walked through the lobby without encountering any staf( returned to

her dorm and entered the room.

   37. Plaintiffs first recollection of events was being in her room with a man who was pushing

her down and sexually assaulting her.

   38. Plaintiff has since learned that it was the male from the party when entered her dorm at or

about the same time she did.

   39. The man from the party put his hands on Plaintiffs neck, and forcibly raped her. When

the man tried to turn Plaintiff over to penetrate her anally, she was able to get free from him and

he left the room.




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    40. As a result of the sexual assault suffered. M.L. received injuries as set forth in.fi·a, all

within the jurisdictional limits of this court.

                                LEGAL CLAIMS OF LIABILITY

                                           COUNTI
           (Violation of Title IX-20 U.S.C. § 1681 (a)- On Campus Sexual Assault)

    41. Plaintiff re-alleges and incorporates the foregoing paragraphs as if fully set forth herein.

    42. Rivier failed to follow its O\Vn safety policies which stated resident assistants would be

posted at each residence hall to check identification and only allow residents or approved visitors

into the halls after 11 p.m .. and Rivier failed to prevent underage individuals from consuming

alcohol on campus.

    43. As a direct and proximate result of Rivier's failure to follow its own policies, Plaintiff

was sexually assaulted in her dorm room.

    44. The dfects of the sexual assault caused significant trauma and forced Plaintiff to

\.\ithdraw from the school and effectively barred Plaintiffs access to equal educational

L)pportunities and benefits.

    45. Had Defendant Rivier complied with its own policies and the law and provided

reasonable accommodations for Plaintiffs safety, Plaintiff would not have been deprived of

equal educational opportunities.

    46. Because of Defendant Rivier's deliberate indifference. Plaintiff has suffered losses of

educational opportunities and benefits along with injuries. damages and losses. including, but not

limited to physical injuries, emotional distress. fear, anxiety and trauma, damage to and delays in

pursuit of higher education, as more fully described. in.fi-a.




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                                                        COUNT II
                                                       (Negligence)

     -l7. PlainriJTre-alleges and incorporates the foregoing paragraphs as if fully set forth herein .

     48 . Per Rivier policy, ·'[r]esidence hall security is a cooperative effort between the

Department of Public Safety and Security and Student Life and Housing Services. Members of

the Student Life and Housing Services, who live in the residence halls and are on call 24 hours a

day, receive thorough training in the enforcement of residence hall safety and security policies.

Students and their guests must adhere to University procedures regarding residence hall access.

Desk attendants are assigned in each of the residence hall s to monitor the entrance ofresidenrs

and their guests"' 111

    49. 1'11e employees and staff ofRivier's Department of Public Safety and Security failed to

properly train the: members of the Student Life and Housing Services in the enforcement of

n:sidence hall safety and security policies.

    50. Upon information and belief. on the night Plaintiff was raped, there was no one assigned

as a desk attendant at Guild Hall and/or the desk attendant was not present to check students or

guests into the building.

    51. This allowed students and unknm.vn guests to enter the residence hall at all hours without

being monitored .

    52. As a direct and proximate result of the failure to properly train members of the Student

I,ife and Housing Services as desk attendants. a guest that was previously unknown to Plaintiff

entered Guild Hall unchecked and sexually assaulted Plaintiff in her dorm room.

    53. Because of the failure to properly train desk attendants, Plaintiff has suffered losses of

educational opportunities and benefits along with injuries. damages and lusses, including, but not


'" See h nps: //www .rivier.edu/student-1 ifr/pub Iic-sa fery/cam pus-security/

                                                               8
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limited to physical injuries. emotional distress. fear, anxiety and trauma. damage to and delays in

pursuit of higher education. as more fully described. infi'a.


                                             COUNT III
                                         (Vicarious Liability)

    54. Plaintiff re-alleges and inwrporates the foregoing paragraphs as if fully set forth herein.

    55. Rivier is vicariously liable for the neg! igence, reckless and/or criminal conduct of its

employees, agents, and contractors under the doctrine of respondeat superior.

    56. Rivier is vicariously liable under the doctrine of respondeat superior for all acts or

failures to act committed by their employees, agents and contractors within the scope of

employment. including, but not limited to. the acts of those working within the Department of

Public Safety and within Security and other individuals involved in establishing and enforcing

policies: and those individuals responsible for the staffing, hiring. training, and supervising of

desk attendants and other members of the Student Life and Housing Services who are

rc:sponsible l<.)r monitoring residence halls to ensure the safety of students.

    57. As a din:ct and proximate result ofthc: failures of the employees, agents and contractors

of Rivier. Plaintiff has suffered losses of educational opportunities and benefits along with

injuries. damages and losses. including. but not limited to physical injuries, emotional distress.

fear, anxiety and trauma. damage to and delays in pursuit of higher education, as more fully

dc:scribed. infra.

                                           COUNTIV
                           (Breach of Contract against Defendant Rivier)
    58. Plaintiff re-al leg es and incorporates the foregoing paragraphs as if fully set forth herein .

    59. Plaintiff has contracts for housing with Rivier. and accordingly Rivier owed certain

contractual duties to Plaintiff


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     60. rhese duties included duties to actively enforce all guidelines pertaining to the Rivier

University Visitation Policy.

     61. These contractual duties are both express and implied under New Hampshire Law.

     62 . For all the reasons set forth in this Complaint, Defendant Rivier breached these duties to

Plaintiff.

     63. As a din:ct and proximate result of these breacho;:s of contract, Plaintiff has suffered

losses or educational opportunities and benefits along \Vith injuries, damages and losses.

including. but not limited to physical injuries. emotional distress. fear. anxiety and trauma,

damage to and delays in pursuit of higher education. as more fully described, in/i·a.

                                              COUNTY

                      (Breach of Fiduciary Duty against Defendant Rivier)
     64. Plaintiff re-alleges and incorporates the foregoing paragraphs as if fully set forth herein .

     65. While Plaintiff was living in a residence hall which was under the supervision, authority

and control of Rivier. Rivier owed to her the fiduciary duties described by the New Hampshire

Supreme Court in the case of Schneider v. Plymouth Stale College, 144 NH 458 ( 1999).

     66. Rivier owed a fiduciary duty to Plaintiff as she relied upon Defendants to provide

adequate services and a safe living envirnnment for her.

     67. As a direct and proximate result of Defendants ' breach of fiduciary duty as described

herein. Plaintiff has suffered losses of educational opportunitks and benefits along Vvith injuries,

damages and losses. including. but not limited to physical injuries. emotional distress. fear.

anxiety and trauma. damage to and delays in pursuit of higher education. as more fully described.

in/i-a.




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                                      ADDITIONAL COUNTS

    68. Plaintiff specifically reserves the right to amend and add to the allegations contained in

this Count as discovery progresses in this case.

                                    IN.JURIES AND DAMAGES


    69. As a direct and proximate result of the acts and omissions of Defendants as stated herein,

Pia inti ff suffered physical and emotional harm, past, present and future. physical and mental pain

and suffering. economic losses, loss of enjoyment of lite. permanent injury. and other

compensatory damages as allowed under New Hampshire law.

    70. Specifically. and without limitation. Plaintiff suffered the following injuries and ham, as

a resu It of the sexual assau It she suffered due to the acts and omissions of Defendants: trauma,

shame. guilt. embarrassmem, rejection. fear. anxiety, isolation. loss of self-esteem and self-

con fidence. depression. post-traumatic stress, pseudo seizures caused by trauma. struggles with

school, loss of ability to trust, loss of enjoyment of life. and other pecuniary and consequential

damages.

    71. These damages include economic losses including payment for medical and mental

health treatment, and the need to seek alternative means of transportation due to the pseudo

seizures suffered.

    72. Accordingly. Plaintiff seeks judgment against Defendants in an amount within the

jurisdictional limits of this Court. together with costs, interest. and attorney's fees.

        WHEREFORE, Plaintiff prays judgement against Rivier in an amount that is to be

determined by a jury to be just and appropriate to compensate her for her mental and physical

injuries and other damages. together with interest and costs.




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                              Respectfully Submitted,
                              M.L.

                              By and through her attorneys.

                              Law Office of Manning and Zimmerman. PLLC

Dated: January 13. 2022       Isl Anna Gou/el Zimmerman
                              Anna Goulet Zimmerman, Esq.
                              NH Bar No.: 18407
                              87 Middle Street Manchester, NH 03038
                              (603)624-7200
                              Anna@MZLawNH.com

                              Law Office of Manning and Zimmerman, PLLC

Dated: January 13. 2022       Isl Michaila Ohverra
                              Michaila Oliveira, Esq.
                              NH Bar No.: 268038
                              87 Middle Street Manchester, NH 03038
                              (603 )624-7200
                              Michaila rtl tZLiiW H.com
                                      1




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                                   STA TE OF NEW HAMPSHIRE

HILLSBOROUGH, SS                                                                 SUPERIOR COURT
SOUTHERN DISTRICT


                                                   M.L.
                                                    V.

                                            Rivier University

                                                      226-2022-CV-00017
                                    DOCKET NO:- - - - - -

                             PLATNTlf'F'S MOTION FOR LEA VE TO
                                 PROCEED UNDER INITIALS

          NOW COMES the Plaintift: M.L by and through her attorneys, Law Office of Manning

& Zimmerman. PLLC. and hereby move for leave to proceed under initials. and in support

thereof state as follo\vs:

          I.    The Plaintiff is filing. simultaneously with this Motion, a Civil Complaint and

[km and for Jury Trial relating to injuries sustained by M.L. on September 7, 20 l 9, as a result of

sexual assault b) a visitor to the Defendant's premises and the actions. or lack thereof. by the

Dd~ndant \Vhich allowed this assau It to occur.

          7     Plaintiff brings this action seeking relief for the severe and permanent harm that

has resulted to M.L. because of the conduct of Defendant which resulted in the sexual assault.

Plaintiff merely seeks. as a victim of sexual assault, to protect her identity from the public

record.

          3.    Civil litigation cases are open to viewing by any individual as well as news media

outkts.

          4.    In the event the incidents occurring in Plaintiffs Complaint are made public. it

could lead to unnecessary public embarrassment.
                                                                        Granted
                             Clerk's Notice of Decision                •::;. ~    ·   ,.   -
                                                                         .. --        ,C   - -·
                             Document Sent to Parties
                             On 01/25/2022                         Honorable Charles S Temple
                             This is a Service Document For Case: 226-2022-C~21. 2022
                                   Hillsborough Superior Court Southern District
                                                 1/25/2022 2:21 PM
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          5.     Upon information and belie( Defendant knows M.L.'s identity and v.-ill not. from

a litigation standpoint. be adversely impacted by Plaintiffs use of initials: thus. there is no

procedural unfairness amounting to potential infringement of lheir constituLional rights .

          6.     While there is always some level of public interest in open access to legal

proceedings, in this case. there is a stronger countervailing public interest in keep the Plaintiff

anonymous. The public has strong interest in preventing the stigmatization of victims of sexual

assault or other sexual misconduct. The public also has a strong interest in removing deterrents to

victims of sexual assaults from exercising their rights.

          7.     The public interest in learning M.t.. ·s identity is not atypically weighty in the

present case: M.L. is a private citizen seeking to litigate private and highly sensitive issues. not a

public official from whom the public possesses a heightened interest. Further the proceedings

\\.ill remain public, thereby prest!rving any general public inti!rest in the subject matter of this

I itigation .

          WHEREFORE. the Plaintiff M .L. respectfully request that this Honorable Court:

          A.     Grant this Motion and allow Plaintiff to proceed with her civil action under

initials; and

          B.     Grant such other and furtht!r relief as may be equitable and just.

                                                    Respectfully Submitted.
                                                    M .L.

                                                    By and through her attorneys.
                                                    Law Office of Manning and Zimmerman, PLLC

          Dated: January 13, 2022                   Isl Anna (Joule/ Zifr1111em11m
                                                    Anna Goulet Zimmerman, Esq.
                                                    NH Bar No.: 18407
                                                    87 Middle Street Manchester. NH 03038
                                                    (603)624-7200
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                                    Law Ortice of Manning and Limmerman, PLLC

Dated: January 13. 2022         Isl 1'vlichaila Oliveira
                                Michaila Oliveira, Esq.
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                              STATE OF NEW HAMPSHIRE

HILLSBOROUGH, SS.                                                     SUPERIOR COURT
SOUTHERN DISTRICT

                                      Tracy Bishop Hart

                                              v.

                                    Wallace P. Bishop, Jr.

                               Case No.: 226-2022-CV-00031

                     ACCEPTANCE AND WAIVER OF SERVICE

         I, J. Daniel Marr, Esq., on behalf of my client, Wallace P. Bishop, Jr., hereby

certify that I consent to accept service and waive formal sheriffs service of process of the

(i) Summons in a Civil Action, (ii) Complaint, and (iii) Appearance of Attorney

Benjamin T. Siracusa Hillman, while waiving no jurisdictional or other d e.t~St'.S
                                                                      //
available.


Dated:                                                       ::v:~~
